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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LEONARD MARTINEZ,
Plaintiff,

vs.
CITIMORTGAGE, INC., a successor in interest

by merger to ABN Mortgage Group, Inc.;

DITECH FINANCIAL, LLC, and

SHELLPOINT MORTGAGE SERVICING,

Defendants.

NOTICE OF REMOVAL

Defendant CitiMortgage, lnc. (“CMI”), pursuant to 28 U.S.C. § l44l, 28 U.S.C. § 1331,
and the Federal Rules of Civil Procedure, hereby removes to this Court the state court action
described below. Removal of the action is permitted under 28 U.S.C. § 1441 because this action
involves, among other things, a federal question over Which this Court has original jurisdiction
pursuant to 28 U.S.C. § 1331. ln support of removal, CMI states:

l. On October 25, 2017, Leonard Martinez (“Plaintift”) filed a Complaint For
Violation of the Real Estate Settlement Procedures Act (“RESPA”), Breach of Contract, and
Breach of the Covenant of Good Faith and Fair Dealing (“Complaint”) in the case captioned
Leonard Martz'nez v. CitiMortgage, Inc., as successor by merger to ABN Mortgage Group, Inc.,
Dl'tech Fz`nancial, LLC, and Shellpoint Mortgage Servz`cing, in the Second Judicial District Court
of Bernalillo County, NeW Mexico, Cause No. D-202-CV-20l7-766l.

2. Removal of the Complaint is proper because Plaintiff has alleged a claim under
RESPA (12 U.S.C. §2605(t)) in Count IV of the Complaint. [Cornplaint, ll 56.]

3. Plaintiff served the Complaint on CMI on November 6, 2017.

4. This Notice of Removal is filed Within 30 days of the service of the Complaint and

thus is timely under 28 U.S.C. § l446(b) and Fed. R. Civ. P. 6.

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5. Rule l-004(C) NMRA requires that a proof of service be filed with the district court
after service of process on defendants As of the date of filing this Notice, there is no indication
in the record on the State Court docket that any of the other defendants to this matter have been
served. Accordingly, the consent for removal from the other defendants was not obtained. [§
1446(b)(2).]

6. Pursuant to 28 U.S.C. § l446(a), true and correct copies of all process, pleadings
and orders known by Defendant to be on file with the Second Judicial District Court in the
underlying case are attached hereto as Exhibit 1. A Civil Cover Sheet is attached hereto as
Exhibit 2.

7. Venue is proper in this district under 28 U.S.C. § 144l(a) because this district
embraces the place where the removed action has been pending

WHEREFORE, CMI hereby removes this action from the Second Judicial District Court,
County of Bernalillo, State of New Mexico, to this Court, pursuant to 28 U.S.C. § l44l.

Respectfully submitted,
KELEHER & l\/chEOD, P.A.
By: /s/ Justin Breen
Justin B. Breen
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Albuquerque, NM 87103

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Attorneys for CitiMortgage, Inc.

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CERTIFICATE C)F SERVICE

I HEREBY CERTIFY that on the 5th day of December, 20l7, l filed the foregoing using
CM/ECF which caused the following parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing:

Eric N. Ortiz & Associates
Eric N. Ortiz, Esq.

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Albuquerque, NM 87102

eric@ericortizlaw.com
Attorneys for Plaintijj”

/s/ Justin Breen
Justin Breen
Attorney for Defendant CMI

